      Case 1-18-01048-nhl         Doc 46     Filed 10/21/21     Entered 10/21/21 11:15:39




                                                                                 2 Westchester Park Drive, Suite 410
                                                                                            White Plains, NY 10604
                                                                                                 Tel: 914-331-0100
                                                                                                 Fax: 914-331-0105
                                                                                           www.denleacarton.com



                                               October 21, 2021



ECF and E-Mail

Hon. Nancy Hershey Lord
U.S. Bankruptcy Court, EDNY
Conrad B. Duberstein Courthouse
271-C Cadman Plaza East - Suite 1595
Brooklyn, NY 11201-1800

       In Re: Fierro et al. v. Yellen et al Adv. P. 1-18-01048 (NHL) and Zucaro et al. v. Yellen
       et al. Adv. P 1-18-01049 (NHL)

Dear Judge Lord:

       We are counsel for defendants Richard L. Yellen & Associates, LLP, Richard L. Yellen,
Esq. and Brendan Kombol, Esq. in the above-referenced adversary proceedings.

        We have not seen an updated report from the Debtors’ counsel regarding state court
proceedings since September 13, 2021. Therefore, we submit this letter to advise the Court that
on September 20, 2021, the Debtors, Mr. Fiero and the Estate of Luigi Fiero (by its
Administrator, Denise Zucaro), filed a complaint in the New York State Supreme Court for
Kings County against Richard L. Yellen & Associates, LLP, Richard L. Yellen, Esq. and
Brendan Kombol, Esq., Monica E. Kipiniak, Esq., J.C. Ryan EBCO/H&G LLC and Dana F.
Schnipper. A copy of the complaint is Exhibit A to this letter. On October 14, 2021, the
Debtors/plaintiffs in the new state court action filed a request for a preliminary conference in that
new action and at the top of page 2 of their request for judicial intervention (RJI) they confirm
that the new state court action is related to the J.C. Ryan judgment litigation, which itself is still
being litigated in J.C. Ryan v. Fiero et al., Index No.18549/2003 (the “JC Ryan Action”). A copy
of the RJI is Exhibit B to this letter.

        As the Court will see, the fraud and N.Y. Judiciary Law § 487 asserted in this new state
court action are predicated on the same facts and prior state court proceedings, including in the
JC Ryan Action, that are the predicate for the claims in the amended complaints in the above-
referenced adversary proceedings. (Compare Ex. A with e.g., Adv. P. 1-18-01048, Dkt. 32). The
filing of the new state court action shows that the Debtors wish to proceed with their fraud
claims in state court and further supports granting defendants’ motion to dismiss the claims in
the above-referenced adversary proceedings. At minimum, the filing of the new action has
      Case 1-18-01048-nhl        Doc 46     Filed 10/21/21     Entered 10/21/21 11:15:39




implications for this Court’s next steps because of the potential for duplicative litigation and
inconsistent rulings, and in light of this Court’s prior rulings in terms of recognizing, for
example, the state court’s greater familiarity with its prior proceedings over the past, now, nearly
two decades, and judicial economy. (See Case No. 14-41439, Dkt. 106 at pp. 6-7 (weighing
factors favoring abstention and remand of the JC Ryan Action).

      We look forward to discussing this further to the extent the Court wishes to do so at the
October 26, 2021, telephone conference.

                                              Respectfully submitted,

                                              DENLEA & CARTON LLP

                                              /s/Steven R. Schoenfeld



cc All Counsel (Via ECF)




                                                 2
